Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5391 Filed 03/08/24 Page 1 of 22




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


    DONALD AGEE, JR., an individual, et
    al.,                                        Case No. 1:22-cv-00272

                 Plaintiffs,                    Three-Judge Panel Appointed
    v.                                          Pursuant to 28 U.S.C. § 2284(a)


    JOCELYN BENSON, in her official
    capacity as the Secretary of State of       PLAINTIFFS’ OBJECTIONS TO
    Michigan, et al.,                           DEFENDANTS’ REMEDIAL STATE
                                                HOUSE PLAN
                 Defendants.


                                     INTRODUCTION

         Defendants’ adopted remedial map is an improvement over the racially

   gerrymandered House map this Court struck down in its December 2023 ruling. But

   it is still not acceptable. To begin, the remedial map is gerrymandered to ensure that

   no incumbents must face each other. Because of the immense advantage that

   incumbents enjoy, that virtually ensures that the results of the 2022 election—

   conducted using the invalidated House map—will essentially be locked in for the

   foreseeable future, perpetuating the constitutional harm Plaintiffs have already

   suffered. As numerous courts have held, “attempts to ensure an incumbent will

   prevail in his or her new district—have the potential to embed, rather than remedy,

   the effects of an unconstitutional racial gerrymander in a proposed remedial

   districting plan.” Covington v. North Carolina, 283 F. Supp. 3d 410, 431–33

   (M.D.N.C.), aff’d in part, rev’d in part, 585 U.S. 969 (2018) (collecting cases).
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5392 Filed 03/08/24 Page 2 of 22




         This incumbent gerrymander was no accident. Despite several Commissioners

   making odd and unprompted professions on the record that they did not consider

   incumbency, a Monte Carlo analysis performed by Dr. Trende shows there was only

   a 1% chance of the Commission drawing a map that paired no incumbents.1 And

   another Monte Carlo analysis shows that the adopted map is still a racial

   gerrymander, an outlier compared to the maps drawn primarily by other

   Commissioners.

         How could this happen if the Commission was not considering race this time

   around? One reason is the adopted map retains three districts (i.e., House Districts

   16, 17, and 18) that exemplify the racially-motivated “spoke” concept that was core to

   the Commission’s first round of drafting. The Court will recall from the trial that the

   Commission accomplished its racial gerrymander in the Hickory map by drawing

   long, bacon-shaped districts that began in Detroit and stretched out into the suburbs.

   Yet when given the chance to adopt race-neutral districts reflecting traditional

   redistricting criteria—like a map proposed by Commissioner Szetela—Defendants

   doubled down on their previous strategy in the adopted map, which almost entirely

   preserves the Hickory strategy of spoked western districts. The Court should decline

   to adopt a map which retains districts that are indistinguishable from districts drawn

   primarily with race in mind.




   1 A Monte Carlo analysis is a type of computational algorithm that uses repeated

   random sampling to obtain the likelihood of a range of results of occurring. This was
   one of the simulation tools Dr. Trende discussed at trial showing that the Hickory
   map was a racial gerrymander, since it was an outlier among the range of samples.

                                             2
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5393 Filed 03/08/24 Page 3 of 22




          Another reason is two districts (House Districts 10 and 12) were configured

   primarily based on race to “balance” Black Voting Age Population (“BVAP”) for

   purported “VRA compliance.” Defendants again chose to diminish the Black voting

   strength of Eastpointe (and a portion of northeast Detroit) by pairing it with the

   predominately white lakeshore community of St. Clair Shores, and by pairing the

   predominately Black City of Harper Woods (and a portion of northeast Detroit) with

   the predominately white, ultra-wealthy Grosse Pointes. That strategy continues to

   perpetuate racial discrimination, dilute Black voting power, and defy communities of

   interest.

          A third reason is that the Commission effectively outsourced its drafting

   function to Mr. Gilmer-Hill, the Electoral Chair of the Metro Detroit Democratic

   Socialists of America. A shocking 93.7% of the adopted map is identical to the Tiger

   Lilly map Mr. Gilmer-Hill submitted; the only real difference is a major amendment

   to Districts 10 and 12, also prompted by Mr. Gilmer-Hill. Because Mr. Gilmer-Hill

   operated behind closed doors, we don’t know if he used race. But his map performs

   like he did.

          By repeating and ensconcing its mistakes from the racially gerrymandered

   Hickory map, the Commission violates the Voting Rights Act. The adopted map

   includes eight majority-Black House districts (numbered 4, 5, 7, 8, 9, 11, 16, and 18)

   and three additional House districts (numbered 10, 12, and 17) that closely track the

   Hickory map’s racial targets. The adopted map’s scheme remains well below the ten

   majority-Black House districts contained in the 2011 House map. And it is also less




                                             3
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5394 Filed 03/08/24 Page 4 of 22




   than the ten reasonably configured majority-Black House districts capable of being

   drawn today. For all these reasons, this Court should reject the adopted map.

                             A FEW TROUBLING FACTS

         On February 28, 2024, Defendants adopted a final remedial plan for the

   Michigan House of Representatives dubbed “Motown Sound FC E1” (“Remedial State

   House Plan”). ECF No. 167, PageID.5382-84. But who influenced the final resting

   place of the boundary lines of Defendants’ Remedial State House Plan? And why?

   Surely, part of the answer can be found in Defendants’ public transcripts spanning

   January 11, 2024, through February 28, 2024. Yet those transcripts are obscured by

   the considerable number of constantly changing draft remedial plans and

   Defendants’ later promotion of a total of ten draft remedial plans for public review

   and comment. ECF No. 165, PageID.5367.2 Those transcripts show that

   Commissioners Eid and Kellom dominated the limited shaping of what ultimately

   became Defendants’ Remedial State House Plan. See, e.g., 1/18/24 MICRC Tr. at 57,

   63, 64, 65, 67, 68, 69, and 72; 1/23/24 MICRC Tr. at 81-82; 1/24/24 MICRC Tr. at 13,

   72-73; 1/25/24 MICRC Tr. at 31-35 and 44-46; 2/1/24 MICRC Tr. at 32-41, 56-62, 76-

   80, 84, 91; see also 1/31/24 MICRC Video Recording at minute mark 4:12:00–4:39:30,

   https://www.youtube.com/watch?v=C7ER7Bbi7DE.


   2
     The transcripts from most of Defendants’ remedial mapping sessions may be
   accessed at https://www.michigan.gov/micrc/meeting-notices-and-materials. Notably,
   and despite longstanding written and verbal requests from Plaintiffs’ counsel to
   counsel for the Defendant Commission and Defendant Secretary of State, see 1/26/24
   Bursch Correspondence, attached as Exhibit E, several of the transcripts of the
   Defendants’ mapping sessions have still not been published (as of March 8, 2024 at
   3:43 pm).


                                            4
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5395 Filed 03/08/24 Page 5 of 22




          To appreciate the full answer to the Remedial State House Plan’s origin, the

   Court must trace the lineage of “Motown Sound FC E1” back to the beginning. As

   explained by Dr. Trende, “Motown Sound FC E1” evolved from “Motown Sound,”

   which itself evolved from “Riverwalk FC” and “Spirit of Detroit,” which find their

   origin in “Tiger Lily,” collectively referred to here as the “Family of Maps.” See Trende

   Report on Remedial House Plans at 3-8, attached as Exhibit A; see also 1/24/24

   MICRC Tr. at 13, 72-73; 2/1/24 MICRC Tr. at 32-41, 56-62, 76-80, 84, 91.

          This Family of Maps is unique from all the other draft remedial maps drawn

   by Commissioners in public hearings and submitted for public comment in that the

   Family of Maps dramatically over-favors incumbents by not placing a single

   incumbent in the same house district, and by not creating any open seats. Trende

   Report on Remedial House Plans, Exhibit A at 10-24.3 This Family of Maps is also

   unique in that the maps all closely resemble each other. Id. at 3-8. The overlay map

   of Tiger Lily (the beginning) and Motown Sound FC E1 (the end) vividly depicts this

   reality:




   3 Tellingly, Defendants’ Hickory plan impacted incumbents to a remarkably greater
   extent than Defendants’ Remedial State House Plan. E.g., Sergio Martínez-Beltrán,
   Redistricting may oust half of incumbents in Michigan, analysis finds, The Bridge-
   Michigan,       (Nov.      23,     2021),     https://www.bridgemi.com/michigan-
   government/redistricting-may-oust-half-incumbents-michigan-analysis-finds

                                              5
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5396 Filed 03/08/24 Page 6 of 22




         Alarmingly, “Tiger Lily” was neither drafted by Defendants nor drafted in an

   open meeting. Contra Mich. Const. Art. IV § 6 (5), (10), (11). It was drafted behind




                                            6
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5397 Filed 03/08/24 Page 7 of 22




   closed doors and submitted to Defendants on January 24, 2024, by Christopher

   Gilmer-Hill, a Harvard educated software developer. Mr. Gilmer-Hill is a Michigan

   Democratic party precinct delegate who serves as the “Electoral Chair” of the “Metro

   Detroit Democratic Socialists of America.” Gilmer-Hill Social Media Account

   Package, attached as Exhibit D. Mr. Gilmer-Hill is far from a non-partisan, and his

   Democratic Socialist peers have bragged about his Tiger Lily map being amongst the

   final remedial maps up for proposed adoption, albeit under a different moniker. Id.

         They were spot-on. The Remedial State House Plan and Tiger Lily share 93.7%

   of the same population. Trende Report on Remedial House Plans, Exhibit A at 7-8.

   The populations in House Districts 2, 5, 6, 11, 14, 17, and 18 are identical in both

   maps. Id. The only material population changes come from the dilutive racial

   gerrymander of grouping Eastpointe/Detroit with St. Clair Shores, and then Harper

   Woods/Detroit with the Grosse Pointes, all to achieve the racial targets this Court

   struck down. Id. at 5-8. As discussed below, these amendments to House Districts 10

   and 12, proposed by Commissioner Eid, also originated with Mr. Gilmer-Hill.

         Plaintiffs have no way to know who really drafted Tiger Lily, or to identify all

   the considerations that went into crafting that map—such as race or incumbency

   protection. But empirical evidence shows that Tiger Lily and its progeny are

   masterful incumbency protection plans, score poorly on the gerrymander index—far

   worse than the other maps drawn by Commissioners in open meetings—and fail to

   afford the level of Black electoral opportunity readily available in a wide array of

   reasonably configured districts not drawn to protect incumbents. Id. at 10-35.




                                             7
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5398 Filed 03/08/24 Page 8 of 22




                                STANDARD OF REVIEW

         After finding unconstitutional race-based discrimination, courts have the

   independent duty to ensure that the government’s remedial plan “so far as possible

   eliminate[s] the discriminatory effects of the past as well as bar[s] like discrimination

   in the future.” Louisiana v. United States, 380 U.S. 145, 154 (1965). This means that

   “courts must ensure that a proposed remedial districting plan completely corrects—

   rather than perpetuates—the defects that rendered the original districts

   unconstitutional or unlawful.” Covington v. North Carolina, 283 F. Supp. 3d 410, 431

   (M.D.N.C.), aff’d in part, rev’d in part, 585 U.S. 969 (2018) (“Covington I”) (citing

   Abrams v. Johnson, 521 U.S. 74, 86 (1997)). Numerous courts have acknowledged

   that they must (1) review a state’s proposed remedial districting plan to ensure it

   completely remedies the identified constitutional violation, and (2) ensure that the

   remedial plan “is not otherwise legally unacceptable.” Id. at 424–25 (collecting cases).

         Relief in redistricting cases is “fashioned in the light of well-known principles

   of equity.” Reynolds v. Sims, 377 U.S. 533, 585 (1964) (cleaned up). Courts must

   undertake an “equitable weighing process” to remedy the legal violations they have

   identified, NAACP v. Hampton County Election Comm’n, 470 U.S. 166, 183, n. 36

   (1985), taking account of “what is necessary, what is fair, and what is workable,” New

   York v. Cathedral Academy, 434 U.S. 125, 129 (1977) (cleaned up). A district court’s

   equitable powers are “broad, for breadth and flexibility are inherent in equitable

   remedies.” Brown v. Plata, 563 U.S. 493, 538 (2011) (cleaned up).




                                              8
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5399 Filed 03/08/24 Page 9 of 22




           In exercising this broad equitable power, “[e]vidence drawn from the liability

   phase and the Court’s prior findings form the backdrop for the Court’s determination

   of whether the Remedial Plan so far as possible eliminated the discriminatory effects

   of the original plan.” Singleton v. Allen, No. 2:21-CV-1291-AMM, 2023 WL 5691156,

   at *43–44 (N.D. Ala. Sept. 5, 2023), appeal dismissed sub nom., Milligan v. Co-Chairs

   of Alabama Permanent Legislative Comm. on Reapportionment, No. 23-12922-D, 2023

   WL 6568350 (11th Cir. Oct. 3, 2023) (cleaned up).

                                        OBJECTIONS

      I.      Defendants’ Remedial State House Plan Violates the Michigan
              Constitution and Prejudices Black Voters by Favoring Incumbents
              Elected Under the Unconstitutional and Racially Gerrymandered
              Hickory Plan.

           Throughout the remedial drafting phase, several Defendants—without

   prompting and quite awkwardly—professed on the record that the Commission did

   not favor or disfavor incumbents when crafting potential remedial districts. See

   1/17/24 MICRC Tr. at 144; 1/24/24 MICRC Tr. at 215; 2/1/24 MICRC Tr. at 77-786, 867.



   4 Commissioner    Lett: “I will not consider an advantage to any political party or
   person. I do not look up the political party that is in those districts, nor will I consider
   or favor or disfavoring any person or candidate since I don’t know who they are
   representing there. Certainly I can look them up, but I won't do that.”
   5 Commissioner Lett: “The Districts as far as I know do not favor or disfavor an

   incumbent or potential candidate. I certainly, in my drawing of maps previously and
   now in submitting this one, have not looked to see who the representative was.”
   6 Chair Orton: And we did not favor or disfavor any incumbent elected official or

   candidate and I don’t know if you said that already but I did not hear it.
   Commissioner Eid: I did not say that but that is correct.
   7 Chair Orton: “And districts do not favor, or disfavor incumbent elected officials or

   candidates because we did not look at that.”


                                                9
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5400 Filed 03/08/24 Page 10 of
                                     22



   Some of these representations were undoubtedly fair assertions; after all, most of the

   Commission’s draft remedial maps pitted incumbents against each other in one or

   more of the draft remedial districts. Trende Report on Remedial House Plans,

   Exhibit A at 10-24.8

         But incumbent neutrality was decidedly not the case when it came to the

   Family of Maps. These maps are expertly drawn incumbency protection plans. In fact,

   the Remedial State House Plan and its lineage (which includes Motown Sound FC

   E1, Motown Sound, Riverwalk FC, Spirit of Detroit, and Tiger Lily), astoundingly

   managed not to double-up incumbents in even a single district. Representative

   Regina Weiss, the House District 6 incumbent, declared it “miraculous that no

   incumbents were drawn together” and volunteered that “[i]t’s not something they

   [(i.e., the Commission)] even look at or consider, and a lot of us do live pretty closely

   together. It was just by happenstance and chance that it didn’t happen.” Ben Solis,

   Detroit-Area Dems In Redrawn Districts Are Ready To Roll Despite Changes,

   Gongwer, (Mar. 1, 2024), https://www.gongwer.com/news/?a=630430101, attached as

   Exhibit C. Representative Veronica Paiz, the House District 11 incumbent, admitted

   that she didn’t want to run against one of her colleagues and had even contemplated

   moving if she had been drawn into a district with another incumbent. Id.

         The Monte Carlo analysis shows that it was indeed “miraculous” that the

   Commission would adopt a map pairing no incumbents elected based on the racially-



   8
    Accord Ben Solis, Redistricting Commission Begins Redrawing Detroit-Area House
   Map, Gongwer, (Jan. 16, 2024), https://www.gongwer.com/news/?a=630100101,
   attached as Exhibit B.

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Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5401 Filed 03/08/24 Page 11 of
                                     22



   motivated Hickory map. Dr. Trende ran a race- and incumbency-blind computer

   simulation   model    which    drew   100,000    different   remedial   house    district

   configurations in the Detroit area. Of those 100,000 unique configurations, nearly

   99,000 placed incumbents in more or more of the same districts. In other words, there

   was only a 1% chance that the Commission would draw a map with no paired

   incumbents in the new districts. As Dr. Trende explains, these findings are

   statistically significant and show a high probability that Defendants’ Remedial State

   House Plan was, in fact, gerrymandered to favor incumbents. See Trende Report on

   Remedial House Plans at 24, attached as Exhibit A.

         This matters for two reasons. First, the Michigan Constitution expressly

   provides that “[d]istricts shall not favor or disfavor an incumbent elected official or a

   candidate.” Mich. Const. Art. IV § 6(13)(e) (emphasis). Second, the Remedial State

   House Plan perpetuates the discriminatory effect of the now-stricken Hickory map.

         Numerous courts have recognized that remedial maps drawn to protect

   incumbents elected under racially gerrymandered maps, or incumbents elected under

   maps drawn in violation of the Voting Rights Act, are not fully remedial because they

   perpetuate the discriminatory effect of the stricken plan by favoring that plan’s

   incumbents. “[A]ttempts to ensure an incumbent will prevail in his or her new

   district—have the potential to embed, rather than remedy, the effects of an

   unconstitutional racial gerrymander in a proposed remedial districting plan.”

   Covington I, 283 F. Supp. 3d at 431–33 (collecting cases). “[A]lthough efforts to protect

   incumbents may be legitimate in some circumstances, in this remedial posture and




                                              11
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5402 Filed 03/08/24 Page 12 of
                                     22



   given the historical record currently before the Court, the City Council’s desire to

   protect incumbents who had been elected to racially gerrymandered districts must

   give way to its duty to completely remedy the constitutional violation.” Jacksonville

   Branch of NAACP v. City of Jacksonville, No. 3:22-CV-493-MMH-LLL, 2022 WL

   17751416, at *16–17 (M.D. Fla. Dec. 19, 2022), appeal dismissed, No. 22-14260-HH,

   2023 WL 4161697 (11th Cir. June 6, 2023) (cleaned up).

         As demonstrated by Dr. Trende’s race- and incumbency-blind computer

   simulations, Defendants’ predominate interest in avoiding incumbency pairings

   perpetuates the racial taint of the Hickory Plan and removed 99% of the possible race-

   blind district configurations Defendants could have adopted to remediate their racial

   gerrymander—including every single one of the draft plans that was not part of the

   Family of Maps. The Remedial State House Plan contravenes the Court’s previous

   ruling by doubling down on the harm the Hickory map caused.

         We may never know whether Commissioners were working behind the scenes

   with Mr. Gilmer-Hill to draft an incumbent-protection plan, whether Mr. Gilmer-Hill

   was himself working with other political operatives and used as the unofficial

   spokesperson and proponent of the Tiger Lily Map, or whether this was all just a

   happy coincidence. It doesn’t matter. The fact that the Commission ensconced its

   racial gerrymander by protecting every last one of the incumbents, standing alone, is

   fatal to the Remedial State House Plan.




                                             12
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5403 Filed 03/08/24 Page 13 of
                                     22



       II.      Defendants’ Remedial State House Plan Remains the Product of
                Race-Based Line Drawing.

                A. Remedial State House Districts 16, 17, and 18 Preserve the
                   Commission’s Racially Motivated “Spoke” Concept.

             The Hickory Plan’s House Districts 16, 17, and 18 were elongated “spoke”

   districts running east to west from predominately Black areas of Detroit and

   Southfield to predominately white areas of Livonia and Farmington Hills. Hickory

   Plan. PX96 at 3. While there are presently no Plaintiffs residing in these three

   districts, the record before the Court showed—and the Court acknowledged—that

   these bacconmandered districts were drawn primarily based on race and are, without

   any serious question, unconstitutional racial gerrymanders.9

             Yet despite having the option to adopt the Szetela 4 Plan—which replaced the

   Hickory Plan’s western spoke districts with race-neutral districts reflecting

   traditional redistricting criteria—Defendants opted to adopt instead the Remedial

   State House Plan, a map which almost entirely preserves the Hickory map’s three

   racially gerrymandered western spoke districts.




   9  E.g., Opinion and Order, ECF No. 131, PageID.4724 (acknowledging that then
   House Districts 14, 15, and 17 were drawn as westerly spokes to lower the BVAPs of
   those districts), PageID.4733 (quoting Commissioner Eid’s concern that the BVAP of
   then House District 17 was drawn too low to provide Black opportunity), PageID.4770
   (finding “as to the Commission’s mapping process for Detroit-area districts generally,
   that the Commission adopted ‘an announced racial target’ to which it ‘subordinated
   other districting criteria”), and 4785 (“the Commission drew the entire Detroit-area
   with race as its predominant consideration”). Accord 9/30/21 MICRC Tr. (PX63) at
   82-85, 138-143 (numerous discussions regarding the need to create the western spoke
   districts for the collaborative house map to comply with the racial targets).

                                              13
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5404 Filed 03/08/24 Page 14 of
                                     22




         As Dr. Trende explains, Defendants’ decision to both retain these spoke

   districts and adopt Commissioner Eid’s amendment to House Districts 10 and 12

   explains why Defendants’ Remedial State House Plan still scores as an outlier racial

   gerrymander in a Monte Carlo analysis. Trende Report on Remedial House Plans at

   24-35, attached as Exhibit A; see also GRACE, Inc. v. City of Miami, No. 1:22-CV-

   24066-KMM, 2023 WL 4853635, at *8 (S.D. Fla. July 30, 2023) (holding that “even if

   the Remedial Plan was enacted in a facially race-neutral manner, circumstantial

   evidence may yet demonstrate that the plan unconstitutionally sorted voters based

   on race”). Whereas as all the other proposed Commission maps fell within a

   reasonable range of a Monte Carlo analysis—particularly the map proposed by




                                           14
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5405 Filed 03/08/24 Page 15 of
                                     22



   Commission Szetela—the Remedial State House Plan fares as poorly on a racially

   gerrymandering scale as did the Hickory map. Id.

         Since Plaintiffs are entitled to a complete remedy, and this Court is operating

   within its equitable jurisdiction, Plaintiffs request that the Court reject any plan

   which preserves racially gerrymandered districts from the Hickory Plan. Such plans

   do not remedy the racial discrimination Plaintiffs have already suffered. And

   adopting such maps will likely subject the racially gerrymandered western spoke

   districts to future challenges from Black voters residing therein. Abrams, 521 U.S. at

   86 (holding a remedial districting plan cannot be sustained if it “would validate the

   very maneuvers that were a major cause of the unconstitutional districting”).

            B. By Isolating the Black Communities of Eastpointe and Harper
               Woods within Predominately White Districts, Remedial State
               House Districts 10 and 12 Dilute Black Voting Strength.

         When crafting House Districts 10, 11, and 12 of the Hickory Plan to meet their

   racial targets, Defendants employed a racially dilutive strategy of keeping St. Clair

   Shores separate from the Grosse Pointes (despite identifying them as communities of

   interest) and keeping Eastpointe largely separated from Harper Woods and Detroit

   (despite identifying them as communities of interest, too). To accomplish that racial

   goal, the Commission lumped Eastpointe with Roseville—despite those areas not

   being communities of interest—and portions of Detroit and Harper Woods with St.

   Clair Shores (same). See, e.g., Hickory Plan, PX96 at 3; 9/30/21 MICRC Tr. (PX140)

   at 644-45 (discussing the reasons for lowering the BVAP of House District 10);

   Opinion and Order, ECF No. 131, PageID.4719-21, 4735-36, 4807-13 (acknowledging




                                            15
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5406 Filed 03/08/24 Page 16 of
                                     22



   that the racial gerrymander of the Hickory Plan districts 10, 11, and 12 cut against

   communities of interest); PageID.4798-99 (recognizing the necessary isolation of

   Eastpointe to racially gerrymander Senate District 11 of the Linden Plan).

            Defiantly, Defendants’ Remedial House Districts 10 and 12 use the same

   isolationist strategy to accomplish the same racially dilutive goal as the Hickory Plan:

   districts with BVAPs around 45%, almost the same racial target that Mr. Adelson,

   Dr. Handley, and General Counsel Pastula gave to Defendants during the initial

   map-drawing process this Court struck down. Specifically, Remedial House District

   10 has a BVAP of 43.8%, with House District 12 at 45.9%. ECF No. 131, PageID.4808,

   4812; Remedial State House Plan VRA Data, attached as Exhibit F.

            The only difference this time around was tactical. Remedial House Districts 10

   and 12 now pair Eastpointe/Detroit with St. Clair Shores and Harper Woods/Detroit

   with the Grosse Pointes. Viewed in context of Defendants’ previous racial

   machinations, the racially dilutive gerrymander in the Defendants’ Remedial State

   House Plan is transparent. The configurations of Remedial House Districts 10 and 12

   therefore do not remediate the racial gerrymander; they perpetuate it. E.g., 2/22/24

   MICRC Tr. at 32-33 (Black citizens expressing frustration with the pairings).

            To appreciate how these districts came to be, the Court must look to the

   YouTube video recording of Defendants January 31, 2024 meeting because the

   Michigan Secretary of State has not yet published the written transcript of this

   drafting session that took place more than a month ago.10


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        1/31/24 MICRC Video Rec. https://www.youtube.com/watch?v=C7ER7Bbi7DE


                                              16
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5407 Filed 03/08/24 Page 17 of
                                     22



          Midway through the meeting, in light of purported “VRA compliance” concerns

   with the Spirit of Detroit map,11 Defendant Eid directed the amendment of House

   Districts 10 and 12, including the pairing of Eastpointe, Harper Woods, and portions

   of northeast Detroit with the wealthy, predominately white lakeshore communities

   of St. Clair Shores and the Grosse Pointes.12 The amendments were substantial

   revisions moving over 64,000 residents amongst districts based entirely on racial

   considerations that conflicted with communities of interest.

          As seen in the video, Defendant Eid’s amendment was actually a proposal from

   none other than Mr. Gilmer-Hill, who suggested altering his previously submitted

   map.13 The next day, Defendants Kellom and Eid formally made these changes to the

   Spirit of Detroit map and renamed this iteration Motown Sound. 2/1/24 MICRC Tr.

   at 32-41, 56-62, 76-80, 84, 91. This was Black-vote dilution, plain and simple.

      III.   Defendants’ Remedial State House Plan Minimizes Black
             Opportunity, Possibly in Violation of the Voting Rights Act.

          Defendants’ Remedial State House Plan contains eight majority-Black House

   Districts (i.e., 4, 5, 7, 8, 9, 11, 16, and 18) and three additional House Districts (i.e.,

   10, 12, and 17) that closely track the racial target Defendants used when drafting the

   stricken Hickory Plan. Exhibit F.




   11 E.g., 1/29/24 MICRC Tr. at 23-46; 1/30/24 MICRC Tr. at 5, 9-18, 20-26, 30-40;

   2/22/24 MICRC Tr. at 28-29, 38-40, 64-67.
   12 See Commissioner Eid Amendment, 1/31/24 MICRC Video Rec. at minute mark

   4:12:00 – 4:39:30 https://www.youtube.com/watch?v=C7ER7Bbi7DE
   13 See Chris Gilmer-Hill Public Comment, 1/31/24 MICRC Video Recording at minute

   mark 20:09-22:00, https://www.youtube.com/watch?v=C7ER7Bbi7DE.


                                               17
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5408 Filed 03/08/24 Page 18 of
                                     22



         This is less than the ten majority-Black House Districts contained in the 2011

   State House Plan. ECF No. 114, PageID.3836, at ⁋ 63. And this is less than the ten

   reasonably configured majority-Black House Districts capable of being drawn today.

         Dr. Trende’s race-blind computer simulations of remedial house districts show

   that it is possible to draw up to ten reasonably configured majority-Black remedial

   house districts. Trende Report on Remedial House Plans at 9-10, 24-35, attached as

   Exhibit A. This is consistent with Dr. Trende’s finding from his January 18, 2023

   Expert Report where he “was able to draw 10 such districts, though it is possible that

   an 11th could be drawn with more aggressive county splitting.” January 18, 2023

   Trende Expert Report (PX20) at 22-26. The Commission acknowledged this, too. But

   Defendants instead rejected the proposed remedial house plan submitted by

   Commissioner Szetela that contained ten majority-Black house districts and another

   district with a BVAP of 43.5%. Szetela 4 VRA Data, attached as Exhibit G.14

         Defendants have not shared publicly any material analysis to support their

   collective decision to deprive Black voters in the Detroit area of the additional

   majority-Black districts capable of being reasonably configured within the region.

   Defendants have not shared any meaningful analysis demonstrating that Remedial

   State House Districts 10, 12, and 17 are likely to perform for Black voters. Nor have

   Defendants shared any analysis showing that Black voters in Remedial State House

   Districts 10, 12, and 17 do not vote cohesively, or that White voters in those districts




   14 In addition, the Michigan Democratic Party Black Caucus was also able to draw a

   proposed map with 10 majority-Black districts https://mdpblackcaucus.com/updates.

                                             18
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5409 Filed 03/08/24 Page 19 of
                                     22



   will not vote as a bloc to defeat the Black candidate of choice. Defendants haven’t

   even show this configuration is necessary VRA compliance.

         In the end, it is hard to fathom how three supposed crossover districts would

   better maintain Black voting rights as they existed under the 2011 House map versus

   three majority-Black districts with no crossover or white-bloc voting analyses. Baldus

   v. Members of Wisconsin Gov’t Accountability Bd., 849 F. Supp. 2d 840, 857 (E.D. Wis.

   2012) (the government cannot “deprive a minority group of one majority-minority

   district and substitute for that two influence districts” because Section 2 of the Voting

   Rights Act provides minority groups “assurance that a bird in the hand really is better

   than two in the bush even though everyone realizes that a good hunter might actually

   snare both of the latter”). This is yet another reason to reject the Commission’s

   Remedial State House Map.

                                      CONCLUSION

         This Court gave Defendants a more-than-fair opportunity to right the wrongs

   perpetuated in the map-drawing process that resulted in the Hickory Plan.

   Defendants squandered that opportunity by outsourcing their map-drawing function

   to a mysterious, outside political operative, endorsing an incumbent-protection plan

   that locks in the racial gerrymander this Court struck down, breaking communities

   of interest to yet again pair poor, Black Detroit voters with rich, white, suburban

   voters, and adopting a Remedial State House Plan that is just as racially

   gerrymandered as the Hickory Plan and still reduces the number of Black-majority

   districts by 20% compared to the 2011 House map. One glance is all it takes to see




                                              19
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5410 Filed 03/08/24 Page 20 of
                                     22



   why the Motown configuration was picked from the bunch. Most of the proposed maps

   placed at least one pair of incumbents in the same district. Bergamot 1 pairs together

   Reps. Paiz and Edwards, and Reps Price and Weiss. Bergamot 2 retains the latter

   pairing. Willow pairs together Reps. Edwards and Xiong as well as Reps. Scott and

   McFall. Yet Defendants chose the one Family of Maps that locked into and

   perpetuated the racial discrimination.

         For all these reasons, Plaintiffs respectfully request that the Court reject

   Defendants’ Remedial State House Plan. Detroit Black voters and the People of

   Michigan deserve better than an incumbency protection plan comprised of half

   measures. They deserve a state house plan that completely remediates the

   unconstitutional and racially gerrymandered plan Defendants have thrusted upon

   Detroit Black voters—one that has ten Black-majority districts.

                                                 Respectfully submitted,

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                                            20
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5411 Filed 03/08/24 Page 21 of
                                     22



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                                       21
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 168, PageID.5412 Filed 03/08/24 Page 22 of
                                     22



                              CERTIFICATE OF SERVICE

         I hereby certify that on March 8, 2024, I electronically filed the above

   document(s) with the Clerk of the Court using the ECF System, which will provide

   electronic copies to counsel of record.

                                                  Respectfully submitted,

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                                             22
